EXHIBIT 12
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

IMPLICIT, LLC,                                    §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 6:16-CV-00080-JRG
                                                  §
TREND MICRO, INC.,                                §
                                                  §
                Defendant.                        §
                                                  §


            ORDER ON MOTIONS IN LIMINE AND PRETRIAL MOTIONS

       On September 12, 2017, the Court held a Pretrial Conference regarding the following

motions by Plaintiff Implicit, LLC (“Implicit”) and Defendant Trend Micro, Inc. (“Trend

Micro”):

          Plaintiff Implicit’s Motion to Strike the Russ Invalidity Report (Dkt. No. 150);

          Plaintiff Implicit’s Motions in Limine (Dkt. No. 232);

          Defendant Trend Micro’s Motion to Strike Portions of the Jacobs Expert Report,

           Balassanian Declaration and Belated Production (Dkt. No. 159);

          Defendant Trend Micro’s Motion for Summary Judgment of Non-Infringement of

           U.S. Patent Nos. 8,694,683 AND 9,270,790 (Dkt. No. 164);

          Defendant Trend Micro’s Motions in Limine (Dkt. No. 231).

       Having considered the Parties’ arguments and for the reasons set forth at the Pretrial

Conference, (Dkt. No. 249), as well as in this Order, the Court resolves these motions as follows.
   I.      Motions in Limine

        A. Agreed Motions in Limine

        MIL No. 1: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion as to communications covered by attorney-client

privilege, including any argument, evidence, testimony, insinuation, reference, or assertion that

speculates about the content of these privileged communications, or that suggest to the jury that

it do so. To the extent that either party wishes to raise or present such argument, evidence,

testimony, or reference, it shall approach the bench and advise the Court prior to such

presentation.

        MIL No. 2: The parties shall be precluded from presenting or eliciting any expert

testimony beyond the scope of that expert’s report(s). All expert testimony shall be limited to

topics and subject matter actually disclosed in reports or testified to in response to opposing

party questions raised during the expert’s deposition. Experts may offer opinion testimony based

upon underlying facts learned from conversations with expert or fact witnesses, assuming such

expert or fact witnesses were properly disclosed.

        MIL No. 3: The parties shall be precluded from disparaging any party as a subsidiary of a

foreign corporation. This shall not preclude either party from referring to the residence, location

or, in the case of a corporation, place of incorporation, of any witness, party, or entity related to a

party as background information or as necessary to provide context for admissible evidence or

evidence used to impeach a witness.




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       MIL No. 4: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion to patents, claims, prior art references, or accused

products that have been dismissed, abandoned, or dropped and are no longer at issue in this case.

       MIL No. 5: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion of: (a) any infringement theories not disclosed in

the complaint, infringement contentions, or in an export report, including any theory of

infringement under the doctrine of equivalents; and (b) any invalidity theories not disclosed in

invalidity contentions or in an expert report.

       MIL No. 6: Implicit shall be precluded from raising any argument, evidence, testimony,

insinuation, reference, or assertion as to any Trend Micro products regarding the fact that such

products are not made in the U.S.

       MIL No. 7: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion as to the location of where a counsel from an

opposing party practices, and the location or size of opposing counsel’s law firm.

       MIL No. 8: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion regarding the religious or political beliefs or sexual

orientation of any party or witness, including a witness’s choice to testify in the witness’s native

language.

       MIL No. 9: The parties shall be precluded, to the extent possible, from raising any

argument, evidence, testimony, insinuation, reference, or assertion regarding non-relevant

exchanges between counsel during depositions (including objections) when reading or showing

deposition excerpts.




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       MIL No. 10: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion regarding the use of jury studies, jury consultants,

focus group studies, trial teams, or shadow juries.

       MIL No. 11: Implicit shall be precluded from raising any argument, evidence, testimony,

insinuation, reference, or assertion that Trend Micro had a duty to search for patents or obtain

opinion of counsel (or from raising any adverse inference from a lack of opinion of counsel).

       MIL No. 12: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion that the court has the power to dismiss frivolous

suits and/or frivolous counterclaims.

       MIL No. 13: Trend Micro shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion that it has its own patents covering the accused

technology.

       MIL No. 14: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion regarding any criticism of the performance,

reliability or credibility of the USPTO or the examiners that work at the USPTO, refer to the

existence of any “backlog” at the USPTO, refer to the issuance of “bad patents,” or offer other

similar evidence or remarks. A party is not precluded from introducing evidence that a particular

prior art reference was or was not considered during the prosecution of an asserted patent.

       MIL No. 15: The parties shall be precluded from raising any argument, evidence,

testimony, insinuation, reference, or assertion referencing the existence of claims by or between

the parties that are not a part of this action, including references to the existence of other

proceedings between the parties.




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       B. Plaintiff’s Motions In Limine

       MIL No. 1: To Preclude Any Evidence or Argument Regarding Orders Issued by Other

Tribunals in Other Proceedings

       This motion is GRANTED. (Dkt. No. 249 at 18:16–19:7.) Neither party may reference

prior orders of other tribunals without first obtaining leave from the Court. (Id.)

       MIL No. 2: The Parties Shall Be Precluded From Raising Any Argument, Evidence,

Testimony, Insinuation, Reference, or Assertion Purporting to Attribute a Meaning to Terms that

Were not Construed by the Court, Other than Their Plain and Ordinary Lay Meaning

       This motion is DENIED.

       MIL No. 3: The Parties Shall Be Precluded From Raising Any Argument, Evidence,

Testimony, Insinuation, Reference, or Assertion Regarding Any Purported NonInfringing

Alternative Not Timely Disclosed In Discovery.

       This motion is GRANTED BY AGREEMENT. (Dkt. No. 249 at 22:1–23.)

       MIL No. 4: The Parties Shall Be Precluded From Raising Any Argument, Evidence,

Testimony, Insinuation, Reference, or Assertion That Disparate References Should be Treated as

a Single Prior Art Reference

       This motion is DENIED.

       MIL No. 5: To Preclude Any Argument, Evidence, Testimony, Insinuation, Reference, or

Assertion that a Damage Award May Increase the Price of Products, Put Manufacturers out of

Business, or Cause Jobs to be Lost

       This motion is GRANTED as to both Parties. (Dkt. No. 249 at 24:23–25:15.)




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       C. Defendant Trend Micro’s Motions in Limine

       MIL No. 1: Motion to Preclude Implicit from Referencing Trend Micro’s Size, Overall

Sales, or Net Worth

       This motion is GRANTED. (Dkt. No. 249 at 29:10–30:5.) Neither party may reference

Trend’s size, profits, or total value without obtaining leave from the Court. (Id.)

       MIL No. 2: Motion to Preclude Implicit from Offering Settlement and License

Agreements as Evidence of Trend Micro’s Liability or the Validity of the Patents-in-Suit

       This motion is GRANTED-IN-PART with respect to using the settlements or licenses to

prove infringement. (Id. at 33:11–34:7.) It is DENIED in all other respects. (Id.)

       MIL No. 3: Motion to Preclude Implicit from Pejorative Terms Regarding Trend’s

“Copying” or Similar of Implicit’s Patents-in-Suit

       This motion is GRANTED-IN-PART with respect to the terms “copying,” “robbing,”

and “stealing” or similarly charged terms. (Id. at 36:3–37:6.) The motion is DENIED with

respect to “misappropriating,” “taking,” or “trespassing” and similar terms. (Id.)

       MIL No. 4: Motion to Preclude Implicit From Referencing Experts’ Prior Work

       This motion is DENIED. (Id. at 38:25–40:7.) However, in referencing an expert’s prior

work neither party should reference other proceedings or other tribunals without obtaining leave

from the Court. (Id.)




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II.      Dispositive Motions

      A. Plaintiff’s Motion to Strike the Russ Invalidity Report (Dkt. No. 150)

      This motion is DENIED. (Dkt. No. 249 at 56:22–58:21.)
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      B. Trend Micro’s Motion to Strike Portions of the Jacobs Expert Report,

         Balassanian Declaration and Belated Production (Dkt. No. 159)

      This motion is DENIED. (Id. at 74:2–75:4.)

      C. Defendant Trend Micro’s Motion for Summary Judgment of Non-Infringement

         of U.S. Patent Nos. 8,694,683 AND 9,270,790 (Dkt. No. 164)

      This motion is DENIED. (Id. at 105:19–22.)
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 3rd day of October, 2017.




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                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE




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